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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 SECURITIES AND EXCHANGE                        )
 COMMISSION,                                    )
                                                )
           Plaintiff,                           )
                                                )       Case No.: 1:18-cv-02844-RDB
 v.                                             )
                                                )
 KEVIN B. MERRILL, et al.,                      )
                                                )
           Defendants.                          )


            ORDER GRANTING RECEIVER’S MOTION FOR APPROVAL
      OF ELEVENTH INTERIM FEE APPLICATION OF HUSCH BLACKWELL LLP

         Before the Court is the Receiver’s Motion for Approval of Eleventh Interim Fee

Application of Husch Blackwell LLP (the “Motion”). Having considered the Motion, and any

responses or objections thereto, the evidence presented, and arguments of counsel, if any, the Court

finds that the time spent, services performed, hourly rates charged, and expenses incurred by Husch

Blackwell LLP on behalf of the Receivership Estate were reasonable and necessary for the

Receiver to perform his Court-ordered duties. The Court, having reviewed the Motion, is of the

opinion that the Motion be and is hereby GRANTED.

         It is therefore ORDERED that payment in the amount of $132,386.81 for the fees and

expenses incurred between April 1, 2021 and June 30, 2021 is approved.

Signed this ____ day of ________________, 2021.




                                              RICHARD D. BENNETT
                                              UNITED STATES DISTRICT COURT JUDGE




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